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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

  STATE OF COLORADO, et al.,

  Plaintiffs,

  v.                                         Civil Action No. 25-cv-121-MSM-LDA

  U.S. DEPARTMENT OF
  HEALTH AND HUMAN SER-
  VICES, et al.,

  Defendants.




                       DECLARATION OF JAMIE LEGIER

  Pursuant to 28 U.S.C. § 1746, I, Jamie Legier, declare as follows:

         1.     I am the Director of the Office of Grants Services at the Centers for

 Disease Control and Prevention (“CDC”), the United States Department of

 Health and Human Services (“HHS”).

         2.     In that capacity, my official duties include providing fiscal steward-

 ship across the agency, and I serve as the agency’s principal advisor and liaison

 on all aspects of grants, including grants financial management activities.

         3.     I have experience with HHS’s record systems regarding grant

 awards issued by CDC, a sub-agency of HHS. These records are made in the

 course of regularly conducted business activity at or near the time of relevant

 events by a person with knowledge of these events.

         4.     In the course of preparing this declaration, I have examined the of-

 fice records available to me regarding grants awarded by CDC.
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        5.    At issue in this litigation are grants provided by CDC to prevent,

 prepare for, and mitigate against COVID-19. These grants were issued in the

 midst of the COVID-19 pandemic, utilizing supplemental funds appropriated

 through a number of appropriations acts passed by Congress in response to the

 COVID-19 pandemic.

        6.    In response to the COVID-19 public health emergency, CDC, either di-

 rectly or by and through HHS, received supplemental funding from the following ap-

 propriations bills:

    •   The Coronavirus Preparedness and Response Supplemental Appropriations
        Act, 2020, Pub. L. No. 116-123, 134 Stat. 146 (2020) (“CPRSA”);

    •   The Families First Coronavirus Response Act, Pub. L. No. 116–127, 134 Stat.
        178 (2020) (“FFCRA”);

    •   The Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136,
        134 Stat. 281 (2020) (“CARES”);

    •   The Paycheck Protection Program and Health Care Enhancement Act, Pub. L.
        No. 116-139, 134 Stat. 620 (2020) (“PPP”);

    •   The Coronavirus Response and Relief Supplemental Appropriations Act,
        (2021) Pub. L. No. 116-260, 134 Stat. 1182 (“CRRSAA”); and

    •   The American Rescue Plan Act of 2021 (“ARPA”) Pub. L. No. 117-2, 135 Stat.
        4 (2021) (“ARPA”).

        7.    With respect to the CDC, some of these bills specify, with varied

 wording, a minimum amount of funding to be provided to state, tribal, local, and

 territorial entities, commonly referred to by HHS as “STLTs” and the date by

 which the funding must be made available or obligated by CDC.
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       8.    I am aware, in my role at CDC, that both HHS and CDC track each

 of the appropriated funding streams and the expenditure of those funds to each

 grant recipient.

       9.    For the CPRSA, Congress appropriated $2.2 billion to CDC, of which

 $950,000,000 was specifically appropriated for awards to STLTs, to remain avail-

 able until September 30, 2022. As of April 14, 2025, CDC made available

 $1,120,474,306 to the STLTs, and the STLTs spent $1,099,398,182 of the awarded

 CPRSA funds.

       10.   For the CARES Act, Congress appropriated $4.3 billion to CDC, of

 which $1.5 billion was specifically appropriated for awards to STLTs, to remain

 available until September 30, 2024. As of April 14, 2025, CDC made available

 $2,108,388,501 to the STLTs, and the STLTs spent $1,812,715,188 of the awarded

 CARES Act funds.

       11.   For the PPP, Congress appropriated $11,000,000,000 to HHS for

 STLTs in total, without specifying that the appropriation go through CDC. Of

 this appropriation, Congress specified that $750,000,000 be appropriated for the

 Indian Health Service, resulting in $10,250,000,000 billion appropriated for non-

 Indian Health Service STLTs. HHS also transferred another $282,311,516 to

 CDC, and Congress separately appropriated another $1,000,000,000 directly to

 CDC under the PPP. As of April 14, 2025, CDC made available $11,652,785,823

 to the STLTs, and the STLTs spent $10,029,206,313 of the awarded PPP funds.
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       12.   For the CRRSAA, Congress appropriated $8.75 billion to CDC, of

 which $4.29 billion was specifically appropriated for awards to STLTs, to remain

 available until September 30, 2024. As of April 14, 2025, $5,426,073,054 was

 made available to the STLTs from CRRSAA funds, and the STLTs spent

 $3,811,438,554 of the awarded CRRSAA funds.1

       13.   For the ARPA, Congress appropriated $1 billion to CDC. CDC re-

 ceived another $17,964,597,077 from HHS and CMS under ARPA. As of April 14,

 2025, $18,964,597,077 was made available to the STLTs, and the STLTs had

 spent $12,241,082,518 of the awarded ARPA funds. As of April 14, 2025, HHS

 records show $6,723,514,559 of unspent ARPA funds that had been awarded to

 STLTs.2

        I HEREBY DECLARE, to the best of my knowledge and belief, under pen-
 alty of perjury under the laws of the United States of America, that the foregoing
 is true and correct.

 EXECUTED this April 24, 2025, in Atlanta, GA.


                                             /s/ Jamie Legier



 1 In addition to this CDC-specific allocation under CRRSAA, Congress appropri-

 ated $22.4 billion to HHS, to remain available until September 30, 2022, and di-
 rected that money go to the STLTs within 21 days of the date of enactment of the
 Act. HHS provided that money to CDC for the sub-agency to obligate. In total,
 including both provisions, CDC awarded a total of $26.7 billion to STLTs. As of
 April 14, 2025, STLTs spent $17.9 billion of the CRRSAA total awarded to them
 by CDC, leaving a total of more than $8.8 billion unspent.
 2 In my prior declaration in this matter, dated April 14, 2025, I provided an esti-

 mate of $5.8 billion of unspent or expired funding that had been appropriated
 directly to CDC for COVID-19 grants. That number did not include broader HHS
 COVID-19 funding that had been made available to STLTs through CDC.
